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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:05CR3017 and
                                             )          4:06CR3075
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
KENNETH SLOMINSKI,                           )
                                             )
                     Defendant.              )


        IT IS ORDERED that the defendant’s three-day evidentiary hearing and sentencing
are set on Tuesday through Thursday, June 26 - 28, 2007, from 9:00 a.m. to 4:30 p.m., before
the undersigned United States district judge, in Courtroom No. 1, Robert V. Denney Federal
Building and U.S. Courthouse, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

       April 23, 2007.                    BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
